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R. ALEXANDER ACOSTA,
Secretary ot`the United States
Department of Labor,
mainan bia iztz»ov-osées~oet)
v.

FIRST BANKBRS TRUST SERVICES, INC.,
MARAN, INC., et al.,

-De't`endants.

 

[“] CONSENT ORDER ANI) JUDGMENT

Piaintiff R. Alexander Acosta, Secretary of the United States Depaitment of Laboi'
("Secretary"), and defendant First Bankers Trust Services, Iric. ("FBTS" and, with the
Seeretary, the "Parties"), by and through their respective attomeys, have negotiated an
agreement to settle all civil claims and issues between them in this ection, and each
consents to the entry of this Consent Order by the Court as the soie and complete
memorialization of the terms of such agreement

A. This action was filed by the Secretary pursuant to his authority under Title I
of the Emptoyee Retirernent lnccme Security Act of 19'74 ("ERISA"), 29 U.S.C. §1001, et
seq. as amended

B. The Secretary filed this ERISA action in connection with the November 30,
2006 purchase of Maran, Ino. stock by the Maran, Inc. Etnployee Stoci< Ownership Plan
(the "Maran ESOP").

C. The Secretary and FBTS have engaged in a constructive and collaborative

effort to establish binding policies and procedures relating to When FBTS serves as trustee

 

 

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or other fiduciary of an employee stock ownership plan ("ESOP“) subject to Titie lof
ERISA that is purchasing or seliirig, or contemplating purchasing or seliing, or receives an
offer to purchase or seli, employer securities that are not publicly traded. ri'he policies and
procedures agreed upon by the Parties are set forth in E.xhibit A to this Consent Order.

D. The Paities each acknowledge that its representations are material factors in
the other Paxty's decision to enter into this Consent Order.

E. The Parties agree to settle on the terms and conditions hereatter set forth and
stipulate and agree to the entry of this Consent Order as a full and complete resolution ot`
all of the civil claims, causes of action and issues arising between them in this action
without adjudication of any issue of fact or law raised in the Seci‘etary's Arnended
Complaint in this action.

N()W THEREFORE, in consideration of the mutual covenants set forth in this
Consent Order and other valuable and sufficient consideration, the Parties have agreed as
herein stated. Accordingty, it is ORDERElj, AD.TUDGBD AND DECREED that:

1- J§.B_I§QHLQN

The Court has jurisdiction over the Paities to this Consent Order and subject matter

of this action and is empowered to provide the relief herein.
II. iTARY l t

A. Witiiin 30 (thirty) days of the Ccurt‘s entry of this Consent Order, FBTS
shall pay or cause its insurers to pay the Maran ESOP the sum of $6,642,857.14 (the
"Settiement Aniount") to fully settie the claims against FBTS in the Secretary's Amended
Compiaint in this action. 'i`his payment shall not he offset in any manner by any payments
from Maran, Inc.,' the Maran ESOP, David Greenherg, Richarti Huang, or any other party.

B. To the extent that the Maran ESOP or Maran has advanced to FBTS

 

 

 

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payment for any fees and expenses that FBTS has incurred or anticipates incurring in
defense of this action or any investigation covered by this Ccnsent Order, FBTS, within 10
(ten) days of execution of this Consent Order, shall re-pay any such advanced fees and
expenses plus interest at the rate presciibed by the weekly average i-year constant maturity
Treasury yieid, as published by the Board of Governors of the Federal Reserve System, for
the calendar week preceding the Court‘s entry of this Consent_ Order.
C. Upon payment of the Settleinent Amount and any payments pursuant to
paragraph lI(B), FBTS is hereby assessed a penalty under ERISA § 502(!), 29 U.S.C.
§ 1132(1), in the amount of $l ,328,5?1.43 (the "Penalty Aniount"), equal to 20% (twenty
percent) of the Settlernent Aniount. However, FB’i`S has petitioned for a Waiver of said
penalty under 29 C,F.R. 25?0.85(a)(2), which the Secretary has granted
D. FBTS will provide to the Secrctary proof of payment of the Settlement
Amount. Such proof will include wire transfer confirmations of the payment and such
- other proof as may be requested by the Secretary, Any proof provided under this paragraph

will be sent to the Secretary‘s representative at the following address:

Jonathan Kay

_Regional Directcr New York Regioiial Ofiice

Einpioyee Benetits Security Adrni_nistration

U.S. Departrrient of Labor

33 Whitehall St., Suite 1200

New York, NY 10004

'l`he Secretary will notify FB'I`S of his receipt of satisfactory prcof.

III. Rt UI EM* 4

 

Thc Parties agree that FBTS will apply the policies and procedures described in
Exhibit A hereto whenever FBTS serves as a trustee or other fiduciary of any ESOP that is

purchasing or selling, is contemplating purchasing or seliing, or receives an offer to

 

 

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purchase or sell, employer securities that are not publicly traded. The policies and
procedures agreed upon by the P'arties are set forth in Exhibit A to this Consent Ordcr.
FBTS agrees to begin to implement the poiicies and procedures in Exhibit A immediately
after this Consent Order is entered by the Court, and willfully implement them within no
later than thirty (30) days after entry of this Consent Order.

lV. NQN-EXCLU§IYIJ §

This Consent Order, including Exhibit A hercto, is not intended to specify ail of
FBTS's obligations as an ERISA fiduciary and in no way supersedes any of FBTS‘s
obligations under ERISA or its implementing regulations

V. RELEASES

A. This Consent Order provides full, tinal, and complete judicial resolution of

any and all of the claims and causes'of action alleged in the Secretary's Ainended

l Cornplaint in this action. Notwithstanding the foregoing, nothing in this Consent Order
shall be deemed to waive any claim by the Secretary relating to the obligations set forth in
this Consent Order.

B. E>icept for the obligations set forth above and in Exhibit A to this Consent
Ordcr, the Secrctary and his agents, representatives, assigns, predecessors and successors in
interest1 acting in their officiai capacities, do hereby waive, release and forever discharge
any and aii ciaims, demands, actions, causes of action, liabilities, or fines {including any
payment under Section 502(1) of ERISA) they may have against FBTS and its directors,
oftioers, agents, attomeys, employees, representatives, assigns, predecessors, and
successors in interest based upon the allegations in the Secretary‘s Amendcd Cornpiaint in
this aetion.

C. FBTS and its directors, ofticers, agents, attorneys; employees

 

 

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representatives, assigns, predecessors and successors in interest, do hereby release the
Secretaiy and his ofticers, agents, attorneys, employees, and representatives both in their
individual and governmental capacities, from ali actions, claims and demands of
whatsoever nature, including those arising under the Equal Access to Justice Act or any
statute, rule, or regulation, that relate in any manner to the investigations, tiling, '
prosecution and maintenance of the Secretary‘s Amended Complaint..

I). The Secretary’s claims against any other persons are expressiy preserved
Except as set forth in paragraphs III(A) and (B) above, nothing in this Consent Order shall
preclude the Secretary from initiating or continuing any audit or investigation or from
pursuing any claims or actions, against any entities or persons relating to any ERISA-
covered plan. Noth_ing in this Consent Order resolves any claims that have been or may be
asserted against FBTS by the Maran ESOP or by any other person

VI. R i E I F D C

This Court shall retain jurisdiction over the Parties and subject matter of this action

for the purposes of enforcing and/or interpreting the terms of this Consent Order.
VII- QQ§I_AMRE.X.REU§-E§

The Parties each shaii bear their own costs, expenses, and attorneys' fees in
connection with this action and this Consent Order. FB'I`S agrees not to seek or accept
indemnification from Maran, Inc. or use any assets of Maran, lnc. or the Maran ESOP for
any payments made or required to be made pursuant to this Consent Order, or for any
expenses, inciuding attorney's fees, associated with the negotiation, consideration
docurnentation, or implementation of this Consent Order.

V]II. CONFLICT RESOLUTI()N

’i`he Parties agree that should any issues arise relating to compliance with the terms

 

 

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of this Consent Order, as a precondition to seeking the Court‘s involvement, the Party
asserting the issue(s) will provide written notice of the issue(s) to the other Party and will
use reasonable efforts to resolve them informally It`the issues cannot be resolved within
ninety (90) days of the date of the written notice, the Parties shall have the option cf
seeking resolution by more formal means, including but not limited to mediation or
litigation Faiiure by any Party to seek enforcement of any provision of this Consent Order
shall not be construed as a waiver of such enforcement with regard to that provision or any 7
other provision

IX. s Nn

By entering into this Consent Order, the Parties hereto represent that they have been
informed by counsel of the effect and purpose of this Consent Order and agree to be bound
by its terms. Any attorney signing each expressly represents that he or she is authorized to
execute this Consent Order on behalf of the Party represented and that the attorney has
fully disclosed any conflicts of interest relating to his or her representation for purposes ot`
executing this Consent Order. This Consent Orcler is not binding on any governmental
agency other than the United States Departrnent of Labor.

X. nuni;traaosletusa§

This Consent Order may be executed in counterparts, each of which shall be
deemed to be an original, but all of which, taken together, shall constitute one and the same
instrument Thc date of execution of this Consent Order is the date on which it is signed by
the Court. 1

XI. ENTRY OF JUDGMENT
The Coult finds that there is no just reason to delay the entry of this Consent Order

and expressly directs the entry thereof as a final Order and Judgment.

 

 

 

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IN WITNESS WHEREOF, the Parties through their respective duly authorized

representatives have executed this Consent Orcfer on the date(s)js,e_t fo_rth hereunder. `

%,@ 5 YM>Q<» SEP212017

@EQ:§¢TATES DISTRICT COURT JUDGE

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F H¢ CRET R '

Respectfully Submitted,

NICHOLAS C. GEALE
Acting Solicitor of Labor

G, WILLIAM SCO’[T
Associate So!icitor
Pian Benef`zts Security Division

ROBERT FURST
Counsei for litigation

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FOR FIRST BANKERS 'I`RUST SERVICES. INC.:

 
 

 

 

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First Banlccrs Trust Serviees, Inc. ("FBTS") agrees to apply the following policies
and procedures whenever FB'I`S serves as trustee or other fiduciary of an employee stock
ownership plan ("ESOP") subject to Title l of the Ernployee Rctirement Income Security
Act of 1974, 29 U.S.C. § iOOl et seq. ("ERISA") that is purchasing or selling, is
contemplating purchasing or selling, or receives an offer to purchase or seil, employer
securities that are not publicly traded (“Transaction").

A. Selection and Use of valuation advisor - General. FBTS shall do the
following l

l. Prudently investigate the valuation advisor‘s qualifications;

2. ’I"ake reasonable steps to determine that the valuation advisor
receives complete, accurate, and current information necessary to value the plan sponsor‘s
securities;

3. Doeurnent What steps FBTS took ~ including who at FBTS took
those steps ~ to determine that the valuation advisor received eompiete, accurate, and
current information and to ensure FBTS understood the advice of the valuation advisor; and

4. Prudentiy determine that its reliance on the valuation advisors
advice is reasonable before entering into any Transaction in reliance on the advice

B. Seleetion of valuation advisor - Couflicts of lmterest. FBTS shall not use
a valuation advisor for a Transaction that has previously performed work for any party to
the Transaction other than the ESOP or its trustee, including but not limited to a

"preiiminary valuation" for or on behalf of the plan sponsor (as distinguished from the

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E.SOP), a committee of employees of the plan sponsor, any counterparty to the ESOP
involved in the 'l`ransaction, or any other entity that is structuring the Transaction (such as
an investment bank). FBTS shall not use a valuation advisor for a Transactlon that has a
familial or coiporate relationship (such as a parent-subsidiary relationship) to any of the
aforementioned persons or entities. FBTS shall obtain written continuation ii'on'i the
valuation advisor selected that none of the above-referenced relations exist.
C. Selection of valuation advisor - Process.

l. In selecting a valuation advisor for a Transaetion, FBTS_ shall
prepare a written analysis addressing the following topics:

a. The reason for selecting the particular valuation advisor;

b. A list of all the valuation advisors that FBTS considered;

c. A discussion of the qualifications of the valuation advisors
that .FBTS considered;

d. A list of at least three references checked and discussion of
the referencesl views on the valuation advisor;

e. Whether the valuation advisor Was the subject of prior
criminal, civil, or regulatory proceedings/investigations related to its previous valuation
work and the outcome of such proceedings or investigations; and

f, A full explanation of the basis for concluding that FBTS‘ v
selection of the valuation advisor was prudent

2. IfFBTS selects a valuation advisor from a roster of valuation
advisors that it has previously used or who have previously been approved in connection
with FBTS‘s vendor risk management program, FBTS need not undertake anew the

analysis outlined above if the following conditions are satisfied:
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a. FBTS previously performed the analysis described above in
connection with a prior engagement of the valuation advisor or in connection with the
vendor risk management program;

b. The previous analysis was completed within the prior
calendar year immediately preceding FBTS's selection of the valuation advisor;

c. FBTS documents in writing in the vendor risk management
program tile that it previously performed the analysis, the date(s) on which FBTS
performed the analysis and the results of the analysis;

d. ”i`he FBTS vendor risk management program file contains the
valuation advisor’s confirmation that the information it previously provided pursuant to
item (C)(l)(e) above is still accurate 7

l). Oversight of valuation advisor - chuired Analysis. Prior to
approving a 'I`ransaction, FBTS shall request that the valuation advisor document the
following items in its Valuation Report1 and, if the valuation advisor does not so document,
FBTS shall prepare or require the preparation of supplemental documentation of the
following items to the extent they were not documented by the valuation advisor:

l, Use of Projections: The individual(s) responsible for providing any
projections reflected in the Valuation Repolt, and, as to those individuals, conduct
reasonable inquiry as to, and record in writing:

a. Whether those individuals have or reasonably may be

determined to have any conflicts of interest in regard to the ES OP including but not limited

 

l All references to the tenn "Vaiuation Report" refer to the valuation advisors report on
which FBTS relies prior to the Transaction in deciding whether to approve or reject the
Transaction.

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to any interest in the purchase or sale of the plan sponsor's stock being considered;

b. Whether those individuals serve as agents or employees ot`
persons with such contiicts, and the precise nature of any such conflicts; and

c. How FBTS and the valuation advisor considered such
conflicts in determining the value of the plan sponsor's securities

2. An opinion as to the reasonableness of any projections considered in

connection with the Transaction that explains in writing why and to what extent the
projections are or are not reasonable At a minimum, the analysis shall consider how the
projections compare to, and whether they are reasonable in light of, the plan sponsors five-
year historical averages and/or medians and the five-year historical averages and/or
mcdians of a group of comparable public companies (if any exist) for the following
metrics, unless five~year data are unavailable {in which case, the analysis shall use averages
extending as far back as possible):

a. Return on assets;

b. Return on equity;

c. EBlT and EBITDA niargins;

d. Ratio of capital expenditures to sales;
e. Revenue growth rate; and
f. Ratio of free cash flows (of the enterprise) to sales.
3. If it is determined that any of these metrics should he disregarded in

assessing the reasonableness of the projections, document in writing both the calculations
of the metric (unless calculation is impossible) and the basis for the conclusion that the
metric should be disregarded The use of additional metrlcs to evaluate the reasonableness

of projections other than those listed in section (D) (2) (a)-(t) above is not precluded as
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long as the appropriateness of those metrics is documented in writing

4. lt` comparable companies are used for any part of a valuation -
whether as part of a guideline company method ofvaluation, to gauge the reasonableness
ofprojections, or for any other purpose, explain in writing the basis for concluding that the
comparable companies are actually comparable to the plan sponsor being valued, including
on the basis of size, customer concentration (if such information is publicly available), and
volatility of earnings If a guideline company analysis is performed, explain in writing any
discounts applied to the multiples selected, and if no discount is applied to any given
multiple, explain in detail the reasons

5. lf the plan sponsor is projected to meet or exceed its historical
performance or the historical performance of the group of comparable public companies on
any of the metrics described in paragraph (D).(Z) above, document in writing all material
assumptions supporting such projections and why those assumptions are reasonable

6. To the extent that FBTS or its valuation advisor considers any of the
projections provided by the plan sponsor to be unreasonable document in writing any
adjustments made to the projections

7. If adjustments are applied to the plan sponsor‘s historical or
projected financial metries in a valuation analysis, determine and explain in writing why
such adjustments are reasonable

8. Describe the risks facing the plan sponsor that could cause the plan
sponsor‘s financial performance to fall materially below the projections relied upon by the
valuation advisor.

9. lf greater weight is assigned to some valuation methods than to

others, explain in writing the weighting assigned to each valuation method and the basis for
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the Weightings assigned

iO. Consider, as appropriate how the ES(jP document provisions
regarding stock distributions the duration of the ESOP loan, and the age and tenure of the
ESOP participants, may affect the plan_sponsor‘s prospective repurchase obligation, the
prudence of the Transaction or the fair market value of the'stock.

ll. Analyze and document in writing:

a. Whether the plan sponsor will be abie to service the debt
taken on in connection with the Transaction (includingl the ability to service the debt in the
event that the plan sponsor fails to meet the projections relied upon in valuing the stock);

b. Whether the Transaction is fair to the ESOP participants from
a financial point of view',

- c. Whether the Transaction is fair to the ESOP participants
relative to all the_other parties to the Transaction;

d. Whether the terms of the iinancing of the Transaction are
market~based, commercially reasonable and in the best interests of the ES OP participants;

e. Wliether the terms of_any loan the ESOP receives in
connection with the Transaction are as favorable as the terms of any loans between the plan
sponsor and any executive of the plan sponsor made within the two years preceding the
Transaction; and

f. Tlie financial impact of the Transaction on the plan sponsor,
and document in writing the factors considered in such analysis and conclusions drawn
therefrom 7

il Explain any material differences between the present valuation and 4

the most recent prior valuation of the plan sponsor performed Within the past 24 months by
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any valuation firm for any purpose (if any exist).

E. Financial Statema!its.

l. FB’l`S shall request that the plan sponsor provide PBTS and its
valuation advisor with unqualified audited financial statements for the preceding t'ive fiscal
years, unless unqualified audited financial statements extending back five years are
unavailable (in which case, FBTS shall request unqualified audited financial statements
extending as far back as possible).

2. lf the plan sponsor provides to FBTS or its valuation advisor
unaudited or qualified audited financial statements for any of the preceding five fiscal years
(including interim financial statements that update or supplement the last available
unqualified audited financial statement), FBTS shall determine whether it is prudent to rely
on these financial statements notwithstanding the risk posed by using unaudited or
qualified audited financial statements

3. 7 if FBTS proceeds with the Transaction notwithstanding the lack of
unqualified audited financial statements (including interim financial statements that update
or supplement the last available unqualified audited financial statement), FBTS shall 7
document the basis for FBTS‘ reasonable belief that it is prudent to rely on the financial
statements, and explain in writing how FBTS accounted for any risk posed by using
financial statements other than unqualified audited financial statements if FBTS does not
believe that it can reasonably conclude that it would be prudent to rely on the financial
statements used in the Vaiuatioii Report, FBTS shall-not proceed with the Transaction.
While FBTS need not audit the financial statements themselves, it must carefully consider
the reliability of those statements in the manner set forth herein.

4. FB’I`S may approve a Tra_nsaction notwithstanding the lack of
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unqualified audited financial statements ('including interim financial statements that update
or supplement the last unqualified audited financial statement) only if the stock purchase
agreement includes a provision requiring the selling or purchasing sliareholder(s) who
is(are) an of`ficer, manager, or member of the board of directors of the plan sponsor to
compensate the ESOP for any losses or other liarms`caused by or related to financial
statements that did not accurately reflect the plan sponsor's financial condition

F. Fiduciary Revlew Prccess - General. ln connection with any 'l`ransaction,
FBTS agrees to clothe following:

i. Talce reasonable steps necessary to determine the prudence of relying
entire plan sponsor's financial statements provided to the valuation advisor, as set cut more
fully in paragraphE above;

2. Critically assess the reasonableness of` any projections (particularly
management projections), and if the Valua.tion Report does not document in writing the
reasonableness of` such projections to FBTS' satisfaction, FBTS shall prepare supplemental
documentation explaining why and to what extent the projections are or are not reasonable;

3. If` FBTS believes the projections are unreasonable FBTS shall ask
the valuation advisor to account for the unreasonable projections in its valuation, request
new and reasonable projections from management, or reject the Transaction. FBTS must

document the basis for its decision.

4. Ensure that the information the valuation advisor obtains from the
plan sponsor and purchasing or selling shareholder(s) includes the following, to the extent
it exists:

a. Any prior attempts by the purchasing or selling

shareholder(s) to purchase or sell their stock in the plan sponsor within the proceeding two
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(2) years;

b. Any prior defaults within the past five years by the plan
sponsor under any lending or financing agreement;

c, Any management letters provided to the plan sponsor by its
accountants within the past five years; and

d. Any information related to a valuation of the plan sponsor
provided tc the Internal Revenue Service within the past five years.

G. Fiduciary Revlew Precess - Documentatlon of Valnation Analysis.

FBTS shall document in Writing its analysis of the Valuation Repcrt relating to a
Transaction. FBTS‘ documentation shall specifically address each of the following topics
and shall include FBTS‘ conclusions regarding the Valuation Report's treatment of each

topic and explain in writing the basis for its conclusions:

l. Marketability disconnts;
2. Minority interests and control premiums;
3. Prcjections ofthe plan sponsor‘s future financial performance and

the reasonableness or unreasonableness cf such projections including, if applicable, the
basis for assuming that the plan sponsors future financial performance will meet or exceed
historical performance or the expected perfonnance of the relevant industry generally;

4. Analysis of the plan sponsor’s strengths and weaknesses, which may
include, as appropriate personnel, plant and equipment, capacity, research and
dcveloprnent, marketing strategy, business planning, financial condition, and any other
factors that reasonably could be expected to affect future perforrnance;

5. Speciric discount rates chosen, including whether any weighted

average cost_of capital used by the valuation advisor was based on the plan sponsor's actual l
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capital structure or that of the relevant industry and why the chosen capital structure
weighting was reasonable;

6. All adjustments to the plan sponsors historical financial statements;

7. ` Consistency of the general economic and industry-specific narrative
in the Valuation Report with the quantitative aspects of the Valuation Report;

8. Reliability and timeliness of the historical financial data ccnsidered,
' including a discussion of whether the financial statements used by the valuation advisor
were the subject of unqualified audit opinions, and if` not, why it would nevertheless be
prudent to rely on them‘,

9. The comparability of the companies chosen as part of` any analysis
based on the plan sponsors comparable companies;

10. Material assumptions underlying the Valuation R.eport and any
testing and analysis of these assumptions‘,

ll. Where the Vaiuation Report made choices between averages,
medians, and outliers (e.g., in determining the multiple(s) ased under the guideline
company method of valuation), the reasons for the choices;

12. Treatment of` corporate debt;

13. Whether the methodologies employed were standard and accepted
methodologies and the basis for any departures from standard and accepted methodologies;

14. Tlie plan sponsor's ability to service any debt or liabilities to be taken
on in connection with the Transaction;

iS. The Transaction's reasonably foreseeable risks as of the date of the
Transaction; and

16. Any other material considerations or variables that could have a
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signiiicant effect on tire price of the plan sponsor's securities
H. Fiduciary Review Process - Reliance on Vaiuation Report.
l. FBTS, through its employees who are primarily responsible for the
proposed Transaction, including any employee who participated in decisions on whether to
proceed with the Transaction or the price of the Transaction, shall do the following, and

document in writing its work with respect to each:

a. Read and understand the Valuation Report',

b. Identify and question the valuation report‘s underlying
assumptions;

c. Make reasonable inquiry as to whether the information in the

Valuatiorr Report' is materially consistent with information in FBTS' possession;

d. Analyze whether the Valuation Report's conclusions are
consistent with the data and analysis; and

e. Analyze whether the Valuation Report is internally consistent
in material aspects

2. FBTS shall document in writing the following (a) the identities ol"

its employees who were primarily responsible for the proposed Transaction, including any
employee who participated in decisions on whether to proceed with the Transaction or the
price of the Transaction; (b) any material points as to which such employee disagreed and
why; and (c) whether any such employee concluded or expressed the belief prior to FBTS's
approval of the Transaction that the valuation report's conclusions were inconsistent with
the data and analysis therein or that the valuation report was internally inconsistent in
material aspects.

3. lt` the employees who were primarily responsible for the Transaction,
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including any employee who participated in decisions on whether to proceed with the
Transaction or the price of the Transaction, believe that the Valuation Report‘s conclusions
are not consistent with the data and analysis or that the Vaiuation Report is internally
inconsistent in material respects, FBTS shall not proceed with the 'I`ransaction.

I. Preservation of Documents. In connection with any Transaction approved
by FBTS, FBTS will create a 'I`ransaction folder and preserve, for at ieast six (6) years the
following:

l. The full name, business address, business telephone number and
entail address at the time of FBTS' consideration of the Transaction of each employee who
Was primarily responsible for the Transaction, including any employee who participated in
decisions on whether to proceed with the Transaction or the price of the Transaction, and
any other FBTS enipioyee who made any material decision(s} on behalf of FBTS in
connection with the Transaction;

2. All relevant notes and records created by FBTS in connection with
its consideration of the Transaction, including all documentation required by this Consent
Order;

3. Th`e vote (yes or no) of each employee of FBTS who voted on the
proposed transaction and a signed certification by each voting employee, in his or her
representative capacity, and any other FBTS employee who made any material decision(s)
on behalf of FBTS in connection with the proposed Transaction that they have read the
valuation report, identified its underlying assumptions and considered the reasonableness
of the valuation report's assumptions and conclusions;

4. All relevant documents FBTS and the employees identified in

paragraph (I)l above relied on in making the decisions;
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5. All relevant electronic or other written communications FBTS and
the employees identified in paragraph (I)l above had with service providers (including any
valuation advisor), the plan sponsor, any non-ESOP counterparties, and any advisors
retained by the plan sponsor or non~ESOP counterparties;

J. Debt and Fair Markat Value. Tbe principal amount of the debt financing
the Transaction, irrespective of the interest ratc, cannot exceed the plan sponsors securities'
fair market value. Accordingly, FBTS shall not cause an ESOP to engage in a leveraged
stock purchase Transaction in which the principal amount of the debt financing the
Transaction exceeds the fair market value of the plan sponsor's securities acquired with that
debt, irrespective of the interest rate or other terms of the debt used to finance the
Transaction.

K. Control. lt` FBTS approves a Transaction in which the B`SOP cedes any
degree of control _to which it would otherwise be entitled based omits ownership interest,
including but not limited to the unencumbered ability to vote its shares (for example, by
electing members ot` the board of directors), FBTS must document any consideration
received in exchange for such limitation on the ESOP’s control (or how the limitation on
control is otherwise retlected in the purchase price) and why it is fair to the ESOP, .It`
FBTS approves a 'l`ransaction in Which the ESOP pays a control premium, FBTS must
document Why it believes that the ESOP is obtaining voting control, and control in fact, and
identify any limitations on such control as well as the specific amount of consideration the
ESOP received for such limitation(s).

L. Consideration of Claw-Back. In evaluating a proposed Transaction, FBTS
shall consider whether it is appropriate to request a claw-baclc arrangement or other

purchase price adjustment(s) to protect the ESOP against the possibility of adverse
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consequences in the event of significant corporate events cr changed circumstances FBTS
shall document in writing its consideration of the appropriateness cfa claw-baclc or other
purchase price adjustment(s).

M. Othcr Professionals. FBTS may, consistent with its fiduciary
responsibilities under ERISA, enipioy, or delegate fiduciary authority to qualified
professional service providers to aid FBTS in the exercise of its powers, duties, and

responsibilities in the Transaction as long as it is prudent to do so.

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